              Case 3:05-cr-00216-WHA          Document 31       Filed 10/11/05     Page 1 of 2



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7
                                      UNITED STATES DISTRICT COURT
8                                    NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
9
     UNITED STATES OF AMERICA,                     )    No. CR-05-00216-WHA
10                                                 )
              Plaintiff,                           )
11                                                 )
         v.                                        )
12                                                 )    [Proposed] SPEEDY TRIAL ORDER
     LEROY E. FRITTS.                              )
13                                                 )
              Defendant.                           )
14                                                 )
15            On June 29, 2005, defendant Leroy E. Fritts was charged in a Superseding Indictment
16   with two counts of tax evasion in violation of 26 U.S.C. § 7201, and one count of conspiracy to
17   defraud the United States in violation of 18 U.S.C. § 371. Mr. Fritts was additionally charged
18   with one count of witness tampering in violation of 18 U.S.C. § 1512(b). Mr. Fritts was
19   arraigned on August 10, 2005.
20            The parties previously appeared before the Court on August 16, 2005, for a status
21   conference. That matter was set over to October 4, 2005. By prior Order entered August 23,
22   2005, the Court excluded time from August 16, 2005, through October 4, 2005, under the Speedy
23   Trial Act due to the complexity of the case and for the continuity and effective preparation of
24   counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv).
25            The parties appeared before the Court on October 4, 2005, for a status conference.
26   During the hearing, the Court set the matter over to November 8, 2005, at 2:00 p.m. The United
27   States, defendant Fritts and his attorney, agree that the time between October 4, 2005, and
28   November 8, 2005, is properly excludable under the Speedy Trial act for the effective preparation

     [Proposed] Speedy Trial Order
     Case No. CR-05-00216 W HA
              Case 3:05-cr-00216-WHA         Document 31                        Filed 10/11/05   Page 2 of 2



1    of counsel pursuant to 18 U.S.C. § 3161(h)(8)(A) & (B)(iv) and that the ends of justice to be
2    served in excluding the time between these dates outweighs the public’s and Mr. Fritts’ interest
3    in a speedy trial.
4        IT IS HEREBY ORDERED that the time from October 4, 2005, through November 8, 2005,
5    is excluded under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and (B) (iv), based
6    on the reasons set forth above.                         TE
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     Dated:     October 11, 2005                              Judge W




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                                          HONORABLE ER        WILLIAM          H. ALSUP

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                                          United States  DDistrict
                                                          I S T R I C T O Judge
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     [Proposed] Speedy Trial Order
     Case No. CR-05-00216 W HA
